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                                                                                     Reed Brodsky
                                                                                     Direct: +1 212.351.5334
                                                                                     Fax: +1 212.351.6235
                                                                                     RBrodsky@gibsondunn.com




  October 11, 2018

  VIA ECF

  The Honorable Kiyo Matsumoto
  United States District Judge
  United States District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:    United States v. Greebel, S1 15 Cr. 637 (E.D.N.Y.) (KAM)

  Dear Judge Matsumoto:

  On behalf of Evan Greebel, we write to respectfully request the Court’s permission for Mr.
  Greebel to travel to the Northern District of New York on Friday, October 12, in connection
  with his work developing a rehabilitation facility. Mr. Greebel will return to Scarsdale that
  evening.

  We have spoken with pretrial services, which has no objection to this travel, and the
  government, which takes no position.

  We thank the Court in advance for consideration of this request.

  Respectfully submitted,

  /s/ Reed Brodsky

  Reed Brodsky
